
Judge Buckner,
delivered tfie opinion oí the court.
Pentecost filed a bill in chancery, against Miller, which was dismissed on bis motion, after answer filed, but without costs. On the next day, the circuit court erroneously entered a decree in his favor for costs, and Miller prosecutes this writ of error, to reverse it. The court, we have no-doubt, intended to give a decree for costs, in favor of the plaintiff in or *363ror; and that it was entered, as it stands, by mistake; but we are bound to take the record as true.
Monroe, for plaintiff.
The decree must lie reversed with costs, and the &amp;c. cause remanded to the court below, with directions to enter a decree for costs, in favor of Miller.
